Case: 1:17-cv-00475-SJD-SKB Doc #: 54 Filed: 11/27/19 Page: 1 of 2 PAGEID #: 2798

                                                                                     FiLED
                                                                               RICHARD W. NAGEL
                                                                                CLERK OF COURT
                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO                        20 19 NOV 27 PH 2: 38
                          WESTERN DIVISION (CINCINNATI)                       U.S . DIS TRI CT COURT
                                                                             SOUTHERN DI ST C-tilO
TYLER GISCHEL,                                    Case No. 1:l 7-cv-00475-S'1.f)$$JJ_IJ CINCINNAT I

             Plaintiff,                           Judge Susan J. Dlott
                                                  Magistrate Judge Stephanie Bowman
vs.
                                                  ORDER REGARDING DISCOVERY
UNIVERSITY OF CINCINNATI, et. al.

             Defendants.



       Pursuant to a discovery conference held on November 27, 2019 via telephone with

 counsel Eric Rosenberg and Tracy Turner on behalf of Plaintiff and Eric Combs on behalf of

 Defendants, the Court ORDERS as follows:

        1.    Counsel for Plaintiff and Defendants will meet and confer regarding

 disposition of certain documents produced by UC to the Department of Education's Office

 of Civil Rights ("OCR" ) in connection with OCR Investigation # 2039 that Defendant the

 University of Cincinnati ("UC") has withheld from production;

       2.     UC ' s counsel Mr. Combs will provide Plaintiffs counsel with an outline

 describing the documents produced by UC to OCR in connection with OCR Investigation

 # 2178 by Thursday, December 5, 2019;

       3.     Based on Plaintiffs review of documents received from OCR in response to

 a subpoena Plaintiff previously served on OCR, it appears that UC did not have in its

 possession, and was unable to provide to Plaintiff, all of UC ' s or its outside counsel's

 communications to and from OCR in connection with OCR Investigation # 2039. Plaintiff



                                             1
Case: 1:17-cv-00475-SJD-SKB Doc #: 54 Filed: 11/27/19 Page: 2 of 2 PAGEID #: 2799




has further indicated that it has not received from the Complainant in OCR Investigation #

2039 communications between her and OCR in connection with OCR Investigation # 2039,

despite having served a subpoena on the Complainant requesting those documents.

Plaintiffs counsel has stated their intention to serve a subpoena on OCR seeking (a)

communications between OCR and UC in connection with Investigation # 2039, (b)

communications between OCR and UC in connection with Investigation# 2178 that relate

in any way to Complainant' s Complaint in Investigation # 2039; and (c) communications

between OCR and Complainant in connection with either Investigation # 2039 or

Investigation# 2178. Defendants will not object to Plaintiffs subpoena to OCR.

       SO ORDERED.


                                        bi.dw:J(&ltltM,_)
                                        tephMle K. Bowman
                                         United States Magistrate Judge




                                            2
